                         UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF PENNSYLVANIA


IN RE:                                      :      Chapter 13
Mohammed Q. Khan and
Samina Khan,                                :      Case No. 18-bk-00668-RNO
       Debtors
                                            :

Mohammed Q. Khan and                        :      Objection to Notice of Postpetition
Samina Khan,                                       Mortgage Fees, Expenses and Charges
      Movants                               :

       v.                                   :

U.S. Bank Trust, N.A. as                    :
Owner Trustee for Carisbrook Asset
Holding Trust,                              :
       Respondent
                                            :


                     OBJECTION TO NOTICE OF POSTPETITION
                    MORTGAGE FEES, EXPENSES AND CHARGES

       The Debtors, by and through their attorney, Philip W. Stock, object to Respondent’s
Notice of Postpetition Mortgage Fees, Expenses and Charges for the following reasons:

       1.     On February 21, 2018, Debtors filed their Petition for Relief under Chapter 13 of
              the Bankruptcy Code;

       2.     U.S. Bank Trust, N.A. as Owner Trustee for Carisbrook Asset Holding Trust
              (U.S. Bank) is a lending institution with a principal office located at
              300 East Delaware Avenue, Wilmington, DE 19809;

       3.     Debtors’ primary residence is secured by a mortgage held by U.S. Bank;

       4.     On March 1, 2018, Debtors filed their Chapter 13 Plan;

       5.     Debtors’ Chapter 13 Plan estimated the mortgage arrearage regarding U.S. Bank’s
              mortgage to be $15,000.00;

       6.     However, Debtors’ Plan was funded to the extent that they could pay a mortgage
              arrearage of up to, approximately, $16,000.00;




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      7.     On March 30, 2018, U.S. Bank filed its Proof of Claim which sets forth a
             mortgage arrearage in the amount of $15,772.69;

      8.     On April 12, 2018, U.S. Bank filed an objection to Debtors’ Plan because of the
             difference between the estimated mortgage arrearage in Debtors’ Plan and the
             amount set forth in U.S. Bank’s Proof of Claim;

      9.     On May 14, 2018, U.S. Bank filed a Notice of Postpetition Mortgage Fees,
             Expenses and Charges (Notice);

      10.    The Notice sets forth the following fees:

                    Notice             $100.00
                    Proof of Claim      350.00
                    Proof of Claim Fee 250.00
                    File Objection      500.00

                            Total       $1,200.00

      11.    U.S. Bank’s objection to the Plan was unnecessary since the arrearage claim
             would have been paid, in full, if Debtor’s Plan had been confirmed by the Court;

      12.    Since the objection to the Plan was unnecessary then, it follows that the fees
             associated with the filing of the objection ($500.00) are inappropriate;

      13.    Moreover, Debtors believe and therefore, aver that all of the fees listed by
             U.S. Bank in its Notice are improper since Act 6 and Act 91 preclude the charging
             of such fees against Debtors when the mortgage is against Debtors’ primary
             residence;


       WHEREFORE, Debtors request that your Honorable Court issue an Order sustaining
their Objection to the Notice of Postpetition Mortgage Fees, Expenses and Charges.
Furthermore, Debtors request that your Honorable Court issue and Order finding that the
appropriate amount for the postpetition mortgage fees, expenses and charges is zero.



Date: 06/14/18                                            /s/Philip W. Stock
                                                          Philip W. Stock
                                                          Attorney for Debtors
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